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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES, ex rel.,                       :
     Peter Rothschild, M.D., et al.,          :       Judge Susan J. Dlott
                                              :
               Plaintiff,                     :       Case No. 1:17-cv-720
                                              :
       v.                                     :
                                              :
PROSCAN IMAGING, LLC, et al.,                 :
                                              :
               Defendants.                    :


                      CONSENT TO NOTICE OF VOLUNTARY DISMISSAL
       Relators have filed a Notice of Voluntary Dismissal, seeking dismissal of the qui tam

lawsuit without prejudice as to Relators and the United States (ECF No. 18).

       The United States, pursuant to 31 U.S.C. § 3730(b)(1), notifies the Court of its consent to

dismissal of this action without prejudice to the United States. The United States requests that

all filings in this action that are currently maintained under seal continue to be maintained under

seal. A proposed Order is attached.


                                                  Respectfully submitted,

                                                  BENJAMIN C. GLASSMAN
                                                  United States Attorney

                                                  /s/ Matthew J. Horwitz
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                                CERTIFICATE OF SERVICE

       I certify that on this this 22nd day of October, 2019, a copy of the foregoing was served on

counsel of record through the United States District Court for the Southern District of Ohio’s

electronic filing system.


                                             /s/ Matthew J. Horwitz
                                             Matthew J. Horwitz
                                             Assistant United States Attorney
